                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION
United States of America                   §
                                           §     CIVIL NO:
vs.                                        §     AU:24-CV-00008-RP
                                           §
State of Texas, Greg Abbott, Texas         §
Department Of Public Safety, Steven C.
McCraw

      ORDER SETTING PRELIMINARY INJUNCTION HEARING
       IT IS HEREBY ORDERED that the above entitled and numbered case is set for
PRELIMINARY INJUNCTION HEARING in Courtroom 4, on the Fifth Floor, United States
Courthouse, 501 West Fifth Street, Austin, TX, on Tuesday, February 13, 2024 at 09:00 AM.


        IT IS SO ORDERED this 12th day of January, 2024.




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                                           ROBERT PITMAN
                                           UNITED STATES DISTRICT JUDGE
